    Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 1 of 16




                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

     CLINGMAN & HANGER                         §
     MANAGEMENT ASSOCIATES, LLC,               § CIVIL ACTION NO.
     AS TRUSTEE OF THE FURIE                   § 4:21-cv-02698
     LITIGATION TRUST,                         §
                                               §
            Plaintiff,                         §
                                               § JUDGE CHARLES ESKRIDGE
     v.                                        §
                                               §
     KAY RIECK, ET AL.,                        §
                                               §
            Defendants.                        §

           DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S
          MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT

TO THE HONORABLE CHARLES R. ESKRIDGE III, UNITED STATES DISTRICT JUDGE:

       Plaintiff’s Second Amended Complaint (Dkt. 288) against Stone Pigman Walther

Wittmann L.L.C. (“Stone Pigman”) impermissibly attempts to recover transfers from a

Furie Operating Alaska, LLC (“Furie”) bank account to Stone Pigman that Plaintiff now

vaguely suggests might at some point have included Cornucopia Oil and Gas, LLC

(“Cornucopia”) funds – without saying how much or when. See Dkt. 288, ¶¶ 56, 59, 206,

216, 221, 231. Plaintiff’s failure to plausibly plead that a single dollar of Cornucopia’s

funds allegedly went to Stone Pigman (through a Furie bank account or otherwise) requires

dismissal under federal pleading standards.

       Moreover, Plaintiff’s threadbare and conclusory allegations regarding Cornucopia’s

alleged transfer of relatively insignificant sums (through Furie as initial transferee) to Stone

Pigman fails to explain – much less identify the who, what, when, where, and why – to

DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 1
    Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 2 of 16




support allegations that the purported transfers were made “with the actual intent to hinder,

delay or defraud” Cornucopia’s creditors.

       Stone Pigman respectfully moves to dismiss Plaintiff’s conclusory fraudulent-

transfer claims under FED. R. CIV. P. 12(b)(6), 8(a), and 9(b) and deny Plaintiff leave to

replead.




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 2
      Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 3 of 16




                                                 TABLE OF CONTENTS

TABLE OF AUTHORITIES....................................................................................................... 4
NATURE AND STAGE OF PROCEEDINGS................................................................................ 6
STATEMENT OF FACTS ......................................................................................................... 7
STATEMENT OF ISSUES ......................................................................................................... 7
STANDARD OF REVIEW ........................................................................................................ 7
ARGUMENT .......................................................................................................................... 8
I.        PLAINTIFF’S SECOND AMENDED COMPLAINT FAILS TO PLAUSIBLY PLEAD
          THAT ANY OF CORNUCOPIA’S FUNDS WENT TO STONE PIGMAN............................. 8
                    The Second Amended Complaint is Devoid of Any, Much Less
                    Plausible, Allegations Regarding Constructive Fraudulent Transfer
                    Elements ...................................................................................................... 11
                    Stone Pigman is Not Alleged to be an Initial Transferee And A
                    Majority of Transfers Plaintiff Seeks Passed Directly to Nunes................. 12
II.       THE “ACTUAL” FRAUDULENT TRANSFER CLAIM FALLS WOEFULLY SHORT
          OF HEIGHTENED PLEADING REQUIREMENTS BY FAILING TO PLEAD WITH
          PARTICULARITY ...................................................................................................... 13
CONCLUSION ...................................................................................................................... 14
CERTIFICATE OF CONFERENCE........................................................................................... 16
CERTIFICATE OF COMPLIANCE ........................................................................................... 16
CERTIFICATE OF SERVICE .................................................................................................. 16




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 3
      Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 4 of 16




                                              TABLE OF AUTHORITIES
Cases
Ashcroft v. Iqbal,
  556 US 662 (2009) ................................................................................................. 7, 9, 10
Bell Atlantic Corp. v. Twombly,
  550 U.S. 544 (2007) ............................................................................................. 7, 10, 11
Benchmark Electronics, Inc. v. J.M. Huber Corp.,
  343 F.3d 719 (5th Cir. 2003) ........................................................................................... 8
Campbell v. Texas Tea Reclamation, LLC,
  2021 WL 2211807 (S.D. Tex. June 1, 2021) ................................................................. 11
Champion v. Texas Southern University,
  2021 WL 1199318 (Mar. 30, 2021) ................................................................................. 7
In re Almazan,
  2011 WL 841349 (Bankr. S.D. Tex. Mar. 7, 2011)....................................................... 13
In re Cyr,
  602 B.R. 315 (Bankr. W.D. Tex. 2019) ......................................................................... 11
In re Specialty Select Care Ctr. of San Antonio, LLC,
  No. 17-44248-ELM, 2021 WL 3083522 (Bankr. N.D. Tex. July 21, 2021) ................. 13
Matter of Coutee,
 984 F.2d 138 (5th Cir. 1993) ......................................................................................... 12
Southmark Corp. v. Schulte, Roth & Zabel, L.L.P.,
  242 B.R. 330 (N.D. Tex. 1999) ..................................................................................... 12

Statutes
11 U.S.C. § 544 ............................................................................................................... 6, 8
11 U.S.C. § 546(a) ............................................................................................................... 8
11 U.S.C. § 548 ............................................................................................................... 6, 8

Rules
FED. R. CIV. P. 12(b)(6) ......................................................................................... 2, 7, 8, 14
FED. R. CIV. P. 8(a) ..................................................................................................... passim
FED. R. CIV. P. 8(a)(2) ......................................................................................................... 7
FED. R. CIV. P. 9(b).............................................................................................. 2, 7, 13, 14




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 4
    Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 5 of 16




Other Authorities
5 COLLIER ON BANKRUPTCY P 550.02 (16th ed. 2021) ........................................... 12




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 5
    Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 6 of 16




                        NATURE AND STAGE OF PROCEEDINGS
       Stone Pigman removed this case on August 18, 2021 (Dkt. 01) and moved to dismiss

on September 14, 2021 (Dkt. 45). On October 19, 2021, Plaintiff sought leave to amend

its complaint as to Stone Pigman (Dkt. 94), which Stone Pigman opposed on November 9,

2021 (Dkt. 112). On April 4, 2022, this Court granted Plaintiff’s motion for leave to amend

and denied Stone Pigman’s first motion to dismiss as moot (Dkt. 152). After Plaintiff filed

its First Amended Complaint on April 12, 2022 (Dkt. 155), Stone Pigman filed its second

motion to dismiss on May 5, 2022 (Dkt. 169).

       On March 31, 2023, this Court entered its Opinion and Order dismissing with

prejudice Plaintiff’s amended claims against Stone Pigman for breach of fiduciary duty,

actual and constructive fraudulent transfer (for claims arising out of the Furie bankruptcy

estate), successor liability, successor by equitable estoppel, and fraudulent transfer of

Cogan Partners’ assets. Dkt. 213.

       The Court’s opinion also acknowledged that Plaintiff may have intended to assert

fraudulent transfer claims with respect to the Cornucopia bankruptcy estate “[b]ut as

currently pleaded, such claims—to the extent pleaded—are impossible to separate from

those arising out of the Furie bankruptcy estate.” Id. at 25. Thus, the Court dismissed

without prejudice §§ 544 and 548 “claims with respect solely to the Cornucopia bankruptcy

estate,” allowing Plaintiff to seek leave to replead any such claims. Id. at 25-26. On March

22, 2024, the Court granted Plaintiff leave to replead Cornucopia’s purported actual and

fraudulent transfer claims against Stone Pigman, among others. See Dkt. 286, p. 7.

       Plaintiff filed the Second Amended Complaint on April 18, 2024 seeking to recover

DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 6
    Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 7 of 16




$843,045.31 from Stone Pigman as alleged actual and constructive fraudulent transfers

from the Cornucopia estate. Dkt. 288, ¶¶ 56, 59, 206, 216, 221, 231.

                                  STATEMENT OF FACTS
       Stone Pigman incorporates by reference its “Nature and Stage of Proceedings” for

its statement of facts.

                                 STATEMENT OF ISSUES
       1.     Should the Sixteenth – actual fraudulent transfer – and Seventeenth –
              constructive fraudulent transfer – Causes of Action against Stone Pigman be
              dismissed under FED. R. CIV. P. 8(a) and 12(b)(6) for Plaintiff’s failure to
              plausibly plead any transfer from Cornucopia to Stone Pigman?

       2.     Should the alleged “actual” fraudulent transfers to Stone Pigman be
              dismissed because Plaintiff failed to plead with particularity as required by
              FED. R. CIV. P. 9(b)?

                                 STANDARD OF REVIEW
       Issue 1. Federal pleading standards require “more than labels and conclusions, and

a formulaic recitation of the elements of a cause of action will not do.” Bell Atlantic Corp.

v. Twombly, 550 U.S. 544, 555 (2007). As to Stone Pigman, the Second Amended

Complaint flunks this test, providing nothing “more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 US 662, 678 (2009), quoting

Twombly, 550 U.S. 555). Failure to meet these standards warrants dismissal under Rule

12(b)(6) for failure to satisfy Rule 8(a)(2). See Champion v. Texas Southern University,

2021 WL 1199318, at *1-2 (S.D. Tex. Mar. 30, 2021) (Eskridge, J.).

       Issue 2. FED. R. CIV. P. 9(b) requires that “[i]n alleging fraud or mistake, a party

must state with particularity the circumstances constituting fraud or mistake.” Under



DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 7
     Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 8 of 16




longstanding Fifth Circuit precedent, the plaintiff must plead “the who, what, when, where,

and how” of any fraud – which Plaintiff fails to do. See Benchmark Electronics, Inc. v.

J.M. Huber Corp., 343 F.3d 719, 724 (5th Cir. 2003).

                                       ARGUMENT

I.     PLAINTIFF’S SECOND AMENDED COMPLAINT FAILS TO PLAUSIBLY PLEAD
       THAT ANY OF CORNUCOPIA’S FUNDS WENT TO STONE PIGMAN
       The Court dismissed with prejudice Plaintiff’s “claims under §§ 544 and 548 arising

out of the Furie bankruptcy estate” against Stone Pigman because such claims were barred

by limitations under 11 U.S.C. § 546(a). Dkt. 213 at 25. The Court also dismissed without

prejudice §§ 544 and 548 claims “with respect solely to the Cornucopia bankruptcy

estate[,]” to the extent any exist. Id. Plaintiff’s Second Amended Complaint does not

plausibly plead or identify any alleged transfers that arose solely from the Cornucopia

bankruptcy estate and thus fails to state a claim under Rule 12(b)(6) and must be dismissed.

       Plaintiff’s Second Amended Complaint merely alleges the possibility that “funds

transferred to a [Furie] account and then transferred out to the defendants were also

transfers of Cornucopia’s property.” See Dkt 288, ¶¶ 206, 221. What’s glaringly missing

are any plausible allegations that money paid to Stone Pigman from a Furie account

related solely to the Cornucopia estate. Tellingly, the purported transfers to Stone Pigman

identified in the Second Amended Complaint are the same Furie transfers identified and

dismissed with prejudice in Plaintiff’s First Amended Complaint. Compare Dkt. 155, ¶ 166

(First Amended Complaint) (“Furie paid Stone Pigman $843,128.74 between January 19,

2017 and June 1, 2018 (with an additional payment of $83.43 made on October 16, 2018))


DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 8
    Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 9 of 16




with Dkt. 288, ¶ 59 (“Stone Pigman received $843,128.74 from [Furie] Account 6064

between January 2017 and June 2018. Transfers to Stone Pigman are identified in Exhibit

D to this complaint.”) and Dkt. 288, Ex. D (showing “Transfers to Stone Pigman from

FOA’s Bank Accounts”) (emphasis added).

       Plaintiff’s allegations that Cornucopia deposited funds into a Furie account and

some of those funds possibly might have ended up at Stone Pigman are speculative,

implausible, and woefully insufficient to satisfy federal pleading standards. See Dkt. 288

¶¶ 56, 59, 206, 216, 221, 231; Iqbal, 556 U.S. at 678 (“The plausibility standard is not akin

to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant

has acted unlawfully. [] Where a complaint pleads facts that are ‘merely consistent with’ a

defendant’s liability, it ‘stops short of the line between possibility and plausibility of

‘entitlement to relief.’”) (internal citation and quotations omitted).

       In fact, a draft of Plaintiff’s Second Amended Complaint sent to Stone Pigman

before Plaintiff filed its Motion for Leave to Amend (Dkt. 229) contained slightly more

definitive (albeit conclusory) language – omitted from the actual, filed version of the

complaint (Dkt. 229-1) – suggesting that the Furie funds that went to Stone Pigman had

actually come from Cornucopia. See the following screenshot from Dkt. 244-1 (Exhibit 1

to Stone Pigman’s Response Opposing Plaintiff’s Motion for Leave to Amend), showing

in red strikethrough the allegations Plaintiff apparently concluded that it could not make as

to Stone Pigman:




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 9
   Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 10 of 16




Consistent with the as-filed complaint attached to Plaintiff’s Motion for Leave to Amend,

Plaintiff’s Second Amended Complaint also omits any suggestion that Furie funds paid to

Stone Pigman actually came solely from Cornucopia. See Dkt. 288, ¶¶ 230, 231.

       Simply put, the Cornucopia transfers to Furie alleged in the Second Amended

Complaint, even when taken as true, aren’t tied to Stone Pigman by anything other than

speculation, and don’t show that Plaintiff is entitled to relief from Stone Pigman because

they don’t show Stone Pigman got any of Cornucopia’s money. Indeed, Plaintiff only

identifies one specific example of a transfer from Cornucopia to Furie and even that

example doesn’t allege those funds actually flowed through to Stone Pigman. See Dkt.

288, ¶ 59; Iqbal, 556 U.S. at 679 (“[W]here the well-pleaded facts do not permit the court

to infer more than the mere possibility of misconduct, the complaint has alleged—but it

has not ‘show[n]’—‘that the pleader is entitled to relief.’”) (quoting FED. R. CIV. P. 8(a)).

       Ultimately, alleging that Cornucopia transferred funds to Furie and Furie transferred

funds to Stone Pigman at most might create a “possibility” of liability – but it fails to state

a claim for the same reason the Supreme Court has found bare allegations of “parallel

conduct” inadequate to satisfy federal pleading standards in an antitrust case.            See

Twombly, 550 U.S. at 557 (“An allegation of parallel conduct is thus much like a naked

assertion of conspiracy in a § 1 complaint: it gets the complaint close to stating a claim,


DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 10
   Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 11 of 16




but without some further factual enhancement it stops short of the line between possibility

and plausibility of ‘entitle[ment] to relief.’” (quoting FED. R. CIV. P. 8(a)).

              The Second Amended Complaint is Devoid of Any, Much Less
              Plausible, Allegations Regarding Constructive Fraudulent
              Transfer Elements
       Setting aside Plaintiff’s failure plausibly to plead funds transferred from Cornucopia

to Stone Pigman, Plaintiff could not plead basic “constructive” fraudulent transfer elements

regarding lack of reasonably equivalent value and insolvency. Indeed, Plaintiff never

complains about the quality of any legal services that Stone Pigman allegedly rendered

and never disputes the validity of Stone Pigman’s expenses. Instead, Plaintiff focuses on

defendant Michael Anthony Nunes’s (“Nunes”) alleged self-dealing through affiliate

transactions unrelated to these alleged payments. Failure plausibly to plead these elements

warrants dismissal. See Campbell v. Tex. Tea Reclamation, LLC, No. 3:20-CV-00090,

2021 WL 2211690, at *6 (S.D. Tex. May 6, 2021), report and recommendation adopted,

No. 3:20-CV-90, 2021 WL 2211807 (S.D. Tex. June 1, 2021) (citing Twombly and finding

that the complaint’s mere repetition of “the words ‘without receiving reasonably equivalent

value’ over and over and over does not survive a motion to dismiss under Rule 12(b)(6).”);

In re Cyr, 602 B.R. 315, 332 (Bankr. W.D. Tex. 2019) (finding that the trustee “failed to

properly plead insolvency for purposes of a constructively fraudulent transfer claim …

[because] [t]he Trustee presented no allegations regarding the value of the Cyr’s debt

relative to the value of the Cyr’s assets at the time the transfers were made.”).




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 11
   Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 12 of 16




               Stone Pigman is Not Alleged to be an Initial Transferee And A
               Majority of Transfers Plaintiff Seeks Passed Directly to Nunes
        Approximately $620,000 of the $843,045.31 Plaintiff seeks to recover from Stone

Pigman was passed through directly to Nunes and isn’t recoverable because Stone Pigman

was a mere conduit for those funds to reach Nunes as the initial transferee. See Southmark

Corp. v. Schulte, Roth & Zabel, L.L.P., 242 B.R. 330, 338 (N.D. Tex. 1999), aff’d in part

sub nom. In re Southmark Corp., 239 F.3d 365 (5th Cir. 2000), as amended on reh’g

(Dec. 11, 2000) (finding a law firm “served as a mere conduit and was not the initial

transferee of the funds” in holding funds as an escrow agent); Matter of Coutee, 984 F.2d

138, 140-41 & n.3 (5th Cir. 1993) (adopting “dominion or control” test, under which “a

party that receives a transfer directly from the debtor will not be considered the initial

transferee unless that party gains actual dominion or control over the funds” and holding

that bank, not law firm, was the initial transferee of funds paid by client to law firm to

facilitate firm’s payment of debt to bank); see also 5 COLLIER ON BANKRUPTCY P

550.02 (16th ed. 2021) (“[M]any courts have found that a party acting merely as a conduit

who facilitates the transfer from the debtor to a third party is not a ‘transferee’ and,

therefore, not the initial transferee.”).

       Plaintiff has been aware that $621,670.00 passed directly to Nunes since at least

March 2022, when Stone Pigman served its objections and responses to Plaintiff’s first set

of interrogatories with schedules reflecting the amount of funds passed through to Nunes.

        Moreover, Plaintiff implicitly concedes that Stone Pigman was a subsequent (i.e.,

“immediate or mediate”) transferee of funds that first allegedly traveled from Cornucopia


DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 12
      Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 13 of 16




to Furie for various reasons and in unrelated amounts before allegedly later arriving at

Stone Pigman. Dkt. 288, ¶ 59 (“Stone Pigman was also paid out of [Furie] Account 6064

in February 2017 after Cornucopia transferred $1.325 million into the [Furie]

account.”)(emphasis added).

II.     THE “ACTUAL” FRAUDULENT TRANSFER CLAIM FALLS WOEFULLY SHORT
        OF HEIGHTENED PLEADING REQUIREMENTS BY FAILING TO PLEAD WITH
        PARTICULARITY
        Plaintiff’s failures are even worse when it comes to alleged “Actual Fraudulent

Transfer.” See In re Specialty Select Care Ctr. of San Antonio, LLC, No. 17-44248-ELM,

2021 WL 3083522, at *16 (Bankr. N.D. Tex. July 21, 2021) (Morris, J.) (dismissing

“actual” fraudulent transfer claims because the complaint failed to meet Rule 9(b)

standards – the “Complaint fails to specify (1) whether the Debtor intended to hinder its

creditors, intended to delay its creditors, or intended to defraud its creditors (or some

specified combination thereof), (2) how or in what way the Debtor intended such harm, (3)

towards which creditors or groups or categories of creditors the Debtor’s conduct was

directed, and (4) the factual basis for the Trustee’s belief that the Debtor intended such

conduct to affect these creditors or groups or categories of creditors (including, as

applicable, any relevant badges of fraud and the factual basis for the existence of such

badges of fraud)); In re Almazan, 2011 WL 841349, at *2 (Bankr. S.D. Tex. Mar. 7, 2011)

(finding plaintiff failed to state a claim for “actual” fraudulent transfer because there were

no allegations as to the transferor’s intent).

        Although Plaintiff makes a conclusory, omnibus allegation that “[t]he transfers to

the defendants were made with the actual intent to hinder, delay, or defraud Cornucopia’s

DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 13
   Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 14 of 16




creditors” (Dkt. 288, ¶ 218), Plaintiff’s bare allegations do not support a finding of “actual”

fraudulent transfers to Stone Pigman – whether for representing Furie or otherwise. There

are no particularized allegations of how paying Stone Pigman actually was intended to

hinder, delay, or defraud other creditors, and no plausible theory put forth for how paying

Stone Pigman for legal services and expenses was “actually fraudulent.” Plaintiff cannot

satisfy federal pleading standards for an actual fraudulent transfer claim against the Stone

Pigman law firm, especially Rule 9(b), by relying on misdirection and innuendo about other

alleged wrongdoing and extraction of funds by other parties. Again, there is no allegation

that Stone Pigman participated in any of the other defendants’ alleged wrongdoing.

                                          CONCLUSION
       The Court should dismiss Plaintiff’s claims against Stone Pigman with prejudice

under FED. R. CIV. P. 8(a), 9(b), and 12(b)(6), and grant Stone Pigman such other and

further relief to which it is entitled.




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 14
   Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 15 of 16




                               Respectfully submitted,

/s/ George M. Kryder
George M. Kryder – Attorney in Charge            Patrick W. Mizell
  State Bar No. 11742900                          State Bar No. 14233980
  S.D. Tex Bar No. 14778                          S.D. Tex Bar No. 36390
  gkryder@velaw.com                               pmizell@velaw.com
Matthew W. Moran                                 VINSON & ELKINS LLP
  State Bar No. 24002642                         845 Texas Ave., Suite 4700
  S.D. Tex Bar No. 24471                         Houston, Texas 77002
  mmoran@velaw.com                               Telephone: (713) 758-2222
Jordan W. Leu
  State Bar No. 24070139
  S.D. Tex Bar No. 1133712
  jleu@velaw.com
VINSON & ELKINS LLP
2001 Ross Avenue, Suite 3900
Dallas, Texas 75201
Telephone: (214) 220-7700
Fax: (214) 220-7716

           Attorneys for Defendant Stone Pigman Walther Wittmann L.L.C.




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 15
   Case 4:21-cv-02698 Document 294 Filed on 05/02/24 in TXSD Page 16 of 16




                             CERTIFICATE OF CONFERENCE
       Under the Court Procedures for Hon. Charles R. Eskridge III, ¶ 17 and LR 7.2, on
April 26, 2024, I conferred with Plaintiff’s counsel, Avery Samet, in a series of email
exchanges in which Plaintiff took the position that Stone Pigman may somehow be
precluded from filing a motion to dismiss the Second Amended Complaint and indicated
that Plaintiff is “strongly opposed to more Rule 12 motions.” Stone Pigman believes that
despite multiple opportunities Plaintiff has failed to state any claims that can survive Rule
12 and that Stone Pigman’s motion is meritorious and should be granted.

      As it has done before, by letter to Plaintiff’s counsel dated April 29, 2024, Stone
Pigman set forth its legal and factual positions why Plaintiff’s claims are subject to
dismissal.
                                                /s/ George M. Kryder
                                                George M. Kryder

                             CERTIFICATE OF COMPLIANCE
        Under the COURT PROCEDURES FOR HON. CHARLES R. ESKRIDGE III, ¶ 18(c), I
certify that this motion contains 2,464 words, except the excluded case caption, table of
contents, table of authorities, signature block, and certificates. It was prepared in Microsoft
Word using 13-point typeface. In making this certificate of compliance, I am relying on
the word count provided by the software used to prepare the document.

                                                   /s/ George M. Kryder
                                                   George M. Kryder

                                CERTIFICATE OF SERVICE
       I certify that a true and correct copy of the foregoing instrument was served upon
all counsel of record on May 2, 2024, using the Court’s electronic filing system.

                                                   /s/ George M. Kryder
                                                   George M. Kryder




DEFENDANT STONE PIGMAN WALTHER WITTMANN L.L.C.’S MOTION TO DISMISS PLAINTIFF’S SECOND
AMENDED COMPLAINT – PAGE 16
